
WARNER, J.,
concurring in part and dissenting in part.
I agree with the majority opinion except for that portion which reverses the trial court’s requirement that the father advise the mother by December 1st of the preceding year as to which visitation schedule, original or substitute, the father will elect for the ensuing year. I do not view that as a modification of the agreement at all. The father must determine whether he will be visiting with the children every weekend starting the first weekend in January of the upcoming year or whether he will have them in the summer and the winter vacation of that year. He cannot start with one visitation schedule and decide to switch to another halfway through the year. Therefore, the notification date provided by the trial court merely implements the option arrangement set forth in the parties’ agreement. It does not modify it.
